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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                              )    Chapter 11
                                                                    )
WOODBRIDGE GROUP OF COMPANIES,                                      )    Case No. 17-12560 (JKS)
LLC, et al.,1                                                       )
                                                                    )    (Jointly Administered)
                                                                    )
                               Remaining Debtors.
                                                                    )
Michael Goldberg, as Liquidating Trustee of the
                                                                    )
Woodbridge Liquidation Trust, successor in
interest to the estates of Woodbridge Group of                      )
                                                                    )
Companies, LLC, et al.,
                                                                    )
                                                                    )
                               Plaintiff,
                                                                    )
             v.                                                     )
                                                                         Adv. Pro. No. 19-50944 (JKS)
                                                                    )
Eric Little,                                                        )
                                                                    )
                               Defendant.                           )
                                                                    )

                              MEDIATOR’S CERTIFICATE OF COMPLETION

       In accordance with this Court's Order Assigning Adversary Proceeding to Mediation,
dated January 5, 2021, the undersigned mediator reports that the mediation was completed on
April 26, 2021 and numerous post-mediation communications and resolved in the following
manner (complete applicable provisions):

             (a)        The following individuals were present:

                        (1)    Parties (name and capacity) –

                      Plaintiff Michael Goldberg, as Liquidating Trustee of the Woodbridge
Liquidation Trust, successor in interest to the estates of Woodbridge Group of Companies, LLC,
et al. was present through Jeffrey P. Nolan, Esquire of Pachulski Stang Ziehl & Jones LLP.
Defendant Eric Little was present.




1            The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as
             follows: Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1,
             LLC (0172). The Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks,
             California 91423.


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                        (2)    Counsel (name and party representing) -

                       Plaintiff Michael Goldberg, as Liquidating Trustee of the Woodbridge
Liquidation Trust, successor in interest to the estates of Woodbridge Group of Companies, LLC,
et al. was represented by Jeffrey P. Nolan, Esquire of Pachulski Stang Ziehl & Jones LLP.
Defendant Eric Little acted pro se.

             (b)        The following parties failed to appear and/or participate as ordered:

                        N/A

             (c)        The outcome of the mediation conference was:

                                      The matter has been completely resolved and counsel (or parties)
                                      have been instructed to file an appropriate stipulation and proposed
                                      order within twenty (20) days of the conference.

                                      The matter has been partially resolved and counsel (or parties)
                                      have been instructed to file an appropriate stipulation and proposed
                                      order regarding those claims or issues which have been resolved
                                      within twenty (20) days.
                                      The following issues remain for this court to resolve:

                          X           The matter has not been resolved and should proceed to trial.

                                      OTHER:



Dated: September 21, 2021                            /s/ Lucian B. Murley
                                                     Lucian B. Murley (DE Bar No. 4892)
                                                     SAUL EWING ARNSTEIN & LEHR LLP
                                                     1201 N. Market Street, Suite 2300
                                                     P. O. Box 1266
                                                     Wilmington, DE 19899
                                                     (302) 421-6898

cc:          Jeffrey P. Nolan, Esq.
             Eric Little




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